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                          PX-170
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        11/30
        s       return to office policy?
        insider risk
        dr d     /dei
                doing better on black+ , women , recruiting, retnetion, wrt google
                worse on latinx/native american
        news




        12/3
        ads- addtl exercise . j    +p

        mitby: 1000 apps use 300 of them .... how to make that easy to find/access
                incremental
                moar deeplinks/appify

        reengagement / appify / deeplinking




        play pass - how to invest
               originals
               evolve
        v
               declines (PITA pm - m      w     ? disappointed no spot bonus)
                       what is/is not payments data
                       decline reasons
                       messaging, changing billing dates ....
                               -12% on starz
        m        - process for managing deps between us/payments



        12/9
        s
               0% is currently riot-starting in team, meme of impossible to police.
               either way, who is eligible is the crux. we dont have the kyc needed to a good job. dont
               even know if it'll be enough (apple associated accounts)
               we probably need IDV, background checks etc.
               hbo asia
               hotstar, wholly owned sub of disney

               constrained by SMB focus. e.g. large dev incentives can serve as discincentive for
               some of this bad behavior




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        SQEX builds a spin off tomorrow and licenses some of their IP to this new company, will we fo
        to war?

        https://docs,google,com/document/d/15FiuVbrMiuU-aGHGJjfB7Cxm8A6irQHtZPz0-
        ZFFYvY/edit?resourcekey=0-xaao4FXiwuMBXUscs,Jl5bw




        comp
               comp plan - 3.6M
           -   450 base
               525 bonus
           -   2.6M equity
               cash flow: 3.3M

        announce, retroactive to jan1

        prioritize 99% don't pay full
        ok w janky rebate approach
        "savings to date"
        'independent' - ok w hbo asia
        ? talk to developers .... get their instinct (sqenix example)?
            - try o draft off apple draconian practices, if any
                 if they're applying, it could be really hard/angering small devs

        99% is the message that landed well, but will it sustain as program rolls out

        lock in something with finance so they're expecting it. might be matching apple, might be more,
        might be less (may or may not fly)
        make sure s        aligned on plan and options and how we go to r       (v easy for s      to
        IM)
        already communikcated it to r /p
        how do you want ot earmark, how might this affect optics of play plan?
        governance - pricing team needs to be involved
        c        - how to get 'approval'/ set expectations



           1. ok to delay an announce until we see how apple actually administers the program and
              what dev agitation may arise. {assuming there isn't burning pressure from prlgappldev
              agitation to do something to match apple]
           2. we should also do research with developers to understand how or whether they'd try
              to do the 'create shell company, license IP to it, launch new app' routine with apple.




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           3. we need to set expectations with r         /p      . s       has pinged them and planted
              the seed. we should work with c                and s     to ensure they're aligned with
              what (any) plan might look like (e.g. this is how much it would cost to match apple, this is
              what B and C might cost), and figure out how we 'earmark' the costs
                  a. should consider if/how this affects the optics of the play plan
                  b. governance: understand pricing team may need to be brought in
           4. other random s         feedback/notes:
                  a. would prioritize the '99% don't pay full 30%' message, over 'paying 0%'
                  b. would be ok with a janky rebate approach, if it helps address T&S concerns.
                      could have a 'rebate earned to-date' type thing in console
                  c. need to get aligned on what devs would or would not be in the program. what
                      ownership structure is ok, etc?
                  d.




        payments team
              talked options
                      converge
                             issues: who owns, play sufficient control?

                       status quo
                               ngbf, but need needed to created deconstructed bf for us, because we
                               only use some
                       get out of buy flows altogether

        b ready
        s     s      - will go w shopping
        left w yt , ads, google store



        status quo works for us
                if yuo can deemphasize shopping or YT, put it into optimization
                        processing, fops, risk,
                we could take web for digital
                        ios flows
                        ads, cloud




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            -      to retain talent and have enough data
                            everyone will go to apis
                       - who wants to do ios
            -      to bundle

        deals
        rakuten sourcing/aggregating



        ? escalation / c    /p
               solve fragmented buy flows

            -      will happen next week
                   shopping - pis maintain api for 1 more yr.



        S
        - play pass t mo tuesday

                   app squad wtf, camera?



        unity




        gpay- IDV
        clover
        s      piracy
        app squad
        align w mmh on org and culture changes
        idfa CY
        deals prioritization




        org
        fix okrs




        20210105




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        DECISIONS/DONE
              dei okrs
          - Advanced protection OK?
                      half of play pass not in it.
              read up on potassium
              organize around gnosis
              https://gnosis.qoogleplex.com/p/ahNzfmdvb2dsZS5ib206Z25vc2IzchQLEgdQcm9qZWN
              0GICAgljhuYkKDA



        play leads
        2441

        2695
        s
             -   what does potassium really mean? eliminate cookies, protect ads
             -   what should my role be - resourcing?
                 k
                        exec presence
                        ability to drive this big complex thing
                        paradigm shift? from drive/comms to this?
                        potential backfill for my team
                     - team fit, xfn influence
                 ? pf
                 android : headed to on-device measurement/ tracking
        3048



        p
                 s      feedback .... how to operate
                 kyc / developers
                         indians, covid, job loss
                                 loan apps shady, aggressive collections.
                                 needed RBI license
                                 hard to see APR due to escalation




        pb
                 supercell, 1QOM -> 15%
                 apple ok w sku parity ( we could enforce via gvp)
                 runway
                 raising money eom jan.
                 FTjan




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               HTfeb
               start masterclass 1/march
               store - autopilot for 6 monts ....
                        new ranking for games
                       deals, mekka, he
               a      - good place, stepped up
               d         needs to build relatinoshi0ps
                   - y
                        pf
           -   gmscore
                        pm/eng issues
                       d
               runway
                        needed more a /k . .. thinking abt the small devs
                        mmh - thought they'd be too easy on devs
                        implementation mtg
                        india mtg
               EU legis
                       a      ?
           -   get someone for a         , 1 person for k      /m
           -   free 1-200M
                        post-install x-sell, more ads, less organic
                       search page, depth ads
                       deals
               msft
           -   tablets
                        more ammo to care about large screen
               b*

        6024
        s      /play leads
               'very good' for play .... ~350, without XFN, without extend
               plan for 80% (at lower end)
               some may be granted late in year, details
           -   YT
                      h      /s
                      'so much work', nothing of substance. talked to s      .




        20210106
        DECISIONS/DONE
              CSM -> m        , privacy




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                 briefed a   on pb sitch
                 saw rubidium, t&s updates

        devexp
                 privacy
                 kyc

        rubidium
               who is the director to rally and focus




        s
                 org/culture
                          reorg, people coming loose.
                 pb
                 100M cushion
                 app squad 1P focus
                 fitbit sub lead
                 he
                          350 to play, epuc/bd,
                          caveats
                                  45 - allocated to extend location
                                  25 - give back to d     . can probably fund the rest of the 60 himself
                                  20% holdback release in october
                                  rate card, can trade heads for location
                          complexities
                                  negatives we've been carrying
                          gmscore - slated for 22, under the extend
                          unicorn - j
                          dont know what happened to yt heads




        20210107

        runway
        rubidium
        clover
        EU new deal
        unicorn




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                 k
                        exec presence
                        ability to drive this big complex thing
                        paradigm shift? from drive/comms to this?
                        potential backfill for my team
                        team fit, xfn influence

        20210111
        DECISIONS/DONE
              review hwgpw
              advised pk
              updated leads on stuffs

        xfn
                 pf, AM conscripted into dsa/dma
                        dsa - moderation
                        dma - p2b 2.0
                        new deal - consumer protection

        cultural shift doc

        PK 1:1
                 ios squad
                 PM, mktg, comms, 'central team'
                 ? working w m       's team?
                 uer to figure out why not engaging w G products . e.g. security w/faceid, multi app use
                 cases
                 ? how are 1P teams orged wrt ios vs android
                          much smaller?
                          teams were too NIH. wouldn't use apple's libs
                          much more constrained : easier to dev for .... make that 1 way better, rather than
                          giving ppl 10 ways to do it

                 contributing some teams
                         search - well staffed, corralling
                         tasks - 1 ios dev, get any help they can get
                 apple - only 1 enterprise acct

                 10 ppl CT - 8 eng 1 ux 1 pm
                          trying to id people who would work in a platform capacity
                          comms, pr, mktg
                          catch product teams output
                          needed incentives, company level OKR
                 still no exec level view of what we want to do on the platform, no exec sponsor




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                       e.g. dealing w privacy nutrition label



        20210112
        TODO
              s         I hgpw

        app quality
              pixel ux
              ios generally more polished
              more effortless across form factors

        a
                not as forward as m, gh
                shadow of pb




        s
            -   jalwa 15 for line 10
                some given away to wear, maybe.
                stadia - fertile recruiting
            -   j
                    - worried we need full time person
                        p       nog good at brining people together and getting them over hump



        m
                buyflow
                       k - getting beat up by bill ready
                   - v         /c      /b (?) -> p      to make call
                       b : going to force all physical goods stuff to their other buyflow
                       3 options
                                support deconstructed only
                                b should handle all physical, play should handle all digital
                                    - g1?
                                single consolidated flow across all of google
                   - gpay logo. caesar told stop. thought it was only india. we thought global
                       restitution ph 1 - current, ph 2 - new cases. ph2 not on track. kftc pressure
                   - trade off br comp vs restitution
                       not enough vis to understand tradeoffs




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        20210115
        h
        play pass funding
        gc, fop ownership. XXX doug
        big nums, 1M ppass. subs 1OOM

        42eng years disingenuous, and play would have to take that cost and put billions at risk

        s
        d
                  stress for android
                  c             can't deal with him
                  creating some issues out of non issues. or adding complexity
            -     XXX name drops s                 /escalate to s       too quickly .... is there some fomo?
                           bring to s        /t     first
                       - wasting time talking him down
                  lot of shit talking .... shit talk abt s       to c        . shit talk l       to c       .
            -     you 4 run incremental
                           d        , l     ,c               , r
            -     felt microed, so s          /a          disengaged.
            -     gmscore/play sync - 20 ppl in room.
                           ed proposal for 3rd party stores
                           ejc does not fuck around. told to talk to a /d
                                    d          : ejc not solving problem. throwing ppl under bus

        v       going to leave
                  c            : d        rubbing off on v



        mmh
                  pm's having trouble w m          ?



        https://docs.google.com/document/d/1O imfkvktVnOUYZGm4Y5sKkiiTy2L bx vekfxt eYU/edit
        ?ts=6001 e875#heading=h.3uiis2gsnri n




        20210119
           - thx for making time
              huge thx to teh teams working behind scenes to distill into 10 slides.
              put landability aside
           - focusing on principles first




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                legal advice
                discussion is complicated and easy to get derailed. we had a structure in mind so we're
                going to try to adhere to that.
                only 10 slides of dense info



        20210120
        inauguration day

        s
                d        et al
                see issues first hand
                strat roadshow w s          /s
                cros update

                tablet
                         XXX DEBUG OHANA , DUMBLEDORE, B* ASK
                he
                         s     +9

        perpetually positive

        runway/sr leadership
              transparency as principle
              CN app store approach ... 50% for discovery etc
              s
                      existential issue: will this stop anyone from complaining
                      need to have billing optionality
                      like more transparency. what is the way this would be explained to world
                               integration requirements stay? or is everyone in?
                               making people pay that weren't paying
                               do we need more enemies? only 125?
                               misaligns us w devs
                               dev fee can be levied
                                        hobby developer license
                                       tiers of support
                               very google - rational, cerebral, legislators/regulators need bitesized
                               takeaway
           - j
                      the one comment I'd add -- to S        's points -- is that what we believe about the
                      likelihood of being required to offer choice of billing system seems fundamental to the
                      direction we choose here. I hadn't heard until today that we believe that;s a highly likely
                      outcome.




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        d
                   strategy
                   runway
                   clover



        spotify/s
                 new agreement, might cost more
                 not necessarily more commit
                tk wants more$, GM negative
                 s     : existing deal may have to open
                 not just more cloud spend to save $ on play?




        store process
                2 teams own
                walk up chain to get guidance
                working on different goals - ipd / interstitial rate
                not enough escalations



        clover/s
               status ... b*
        runway/s
               ? bulk
               step back, pressures, kr,
                          need perspective / game plan on whether or not proactively before apple is a good idea,
                          waiting till regulatory/bitter end, know what we want/particular event
                          gametheory
                          shopping -angry, defend, instinct to fight remedies were lame (not really solving the
                          problem, trying to give the least). until clear it wasn't work. not clear what counterfactual
                           is
                           nothing yet to make majority to stop agitation
                                    dynamic w apple .... divert firepower, but is the collateral damage going to hurt us?
                           j     : was it a menu ..... make it a recommendation by doing scenario planning
                                    we're focused on regulatory ... but what about competitive .... if we hold line too
                                    long
                                             if you push tencent, ramping their store, ilke etc, join up w samsung
                           if we did everything tmw, what would epic's response be, supercell etc
                           rate card - impact on ecosystem, who gets riled up, new enemies
                   epic going to continue, ags, dma
                          choice of billing will continue as a vector
                   20% narrative
                              sound bite
                              ags/epic/eu - meh?




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                       is it worthwhile doing up front
               how to integrate j     's team. without pissing current team off.




        samsung/wear
              wear addendum in samsung deal
               wearables app
                      merchandizing for watch apps and watch faces from galaxy store
                       categories
                       entertainment carousel 20 curated
                       need apis from play
                              m
               need public api
                      'can be curated' -tooling to populate the carousel



        j


        s     /cl
               emu
               storex
               better together
               commercials



        pb
               t       -ATC betw h         +m
               debug 2 pager games vision. w g        h
               d      -s
                       pms under him being too territorial/dictatorial


               OKR review
                       'my business requirement'
                               authoritative influence approach. doesn't want to convince engineers


                        incremental review w s
                        GTM fighting over 50 vs 500
               distribution - not allowed to say no
                        10-ish


        pk
               focus on regulators - defend or make peace ?
               you got a business idea, we have a business model for you. we want you to be successful
                        dont simplify, be comprehensive
               stores - as a nother dimension




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        s
                play store for wear



        AGG review
        ? how to for load times. journey for debugging perf, etc



        s        passdowns
        s
        whatsapp
        privacy
        nutrition labels, ATT
        thoughtful approach, but apple more aggressive

        better together importance
                 e . bluetooth, everything that would be common in all the better together scenarios




        pf
                risk he
                compliance he ask - heard it was granted, butl     F claims not to have received.




        go/play-loyalty-datasite



        d
             - a       took on scope and then ...



        runway
           - not clear billiing option viable




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         FEB

        a      m
            - over index on impact/numerical impact.
            - focus on KS As.
            - bias to execution rather than strategy



        mainline
          - android: op pain. not staffed for operations pain
                 - first place to collab, release tooling & operations
          - graduating code from gcore to framework
          - mainline focus on aosp
          - gcore focus on 1p dev velocity
          - what to combine
          - d         adversarial on hc .. .'then we'll have to ask'
          - a        speaking on behalf of london? london annoyed at s          ?



        s
        passdowns
          - s
                   - dramatically improve privacy narrative
                   - big narrative at io
                   - potassium, assistant, privacy nutrition labels
                   - robinhood, how stuff rolls out/fans out/butterfly effect. if not
                     careful, always in any cycle related to online svcs

            - better together, phone    +   watch
            - dei
            - m     joining s       's team
            - feb 9 - s       /g    updating on silk




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              - feb 16th - roundtable type thing

        wear - slsi, faster than tizen, smooth,




        k
              - redone all content in store, all formats, all surfaces, just about
                everything that's not ranking
              - gets more value out of existing real estate
              - created app hero card, used less pixels, more effective



        alignment
            - 65 execs, aligning on company vision and okrs
            - 5 days. 2.5 days was actually focused on mindfulness
                 - mindfulness
                       - listening, being empty
                 - language
                 - trust
                       - rackets

        n
              - collab/perspectives

        2/8

        s
              - s    /c           not aligned with lower levels
              - 'asks' vs collab problem solving
                   - how to work as one team
              - trust has been hurt




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                  - aiai, sandboxed app, hotword processing
                        - android told aiai to move stuff out of gmscore
                        - feel like trying tobe played
        2/9
        passdowns
            - ~60 mins assistant review
            - 60 mins pixel review w s          /h       /r   last thursday
            - s       said @ gleads .... recap, v well done, excited, great review
                  - pixel android 2021
                  - what are the spaces on the mobile phone going forward
                  - assistant
                        - voice strategy
                        - gboard dictation ++++++ responsiveness, grammar,
                           punctuation, gmail, warm words (stopping alarms, from
                           lcokscreen etc)
                  - smartspace
                        - at a glance (next mtg etc)
                        - positioning as what assistant thinks you should be doing
                           right now.... postit right in front of you
                        - at starbucks - loyalty card, at airport - boarding pass etc
            - silk/material next
                  - leak. partner. out of date, inflight
                  - silk - make android modern & reliable. color themeing, ssytem
                    spaces.
                        - visual ssytem , IA update to all spaces
                        - everything is getting an update
                  - material next
                        - systematicization of that
                        - more app side
                  - fewer jumpcuts
                  - 4 core spaces
                        - quick access
                        - attention




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                              - smartspace vs notifications. help you based on
                                 context. extension of notifications
                         - yours
                             - home screen. your mess
                         - everything
                             - all apps. search. sortable/filterable. when in doubt
                                go here. 1 index

                         - coarse gestures




        2/10
        s
           - feedback on the ux session
                - headed in right direction
                - just need next level of detail to expose thorny issues
                - how will teams really make decision of what makes it onto the ux
                - will consumers understand it
                - runtime dialgos turnin ginto tos
           - p      mail
           - family review. m    /p     /mmh/t /r
                - b g         ,j ,j        , ss      , apps team council. accepted

            -   material next challenges, sufficiently plugged in?
                  - read in on jetpack

            - clover
                 - 'no penalty', defensive move. THERE IS A PENAL TY




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        j     r
            - GTM dates/reasons, branding
            - need to do b* and clover
            - he
            - yeah key points are (1) we need a hedge, and (2) we need TAM and can
              converge later
            - HC is still an issue, but if we think some form of "fund out of ATL" or
              other bucket, then it's a credible option.



            - gmscore
            - 1) there is an overhead of this new platform, with new unique
              constraints (e.g. adding production monitoring, alerting, custom
              rollouts) to account for the new platform. given how different it is, we
              need to do something here for that or suffer samsung S21-esque bugs
            - (also similar for mainline/ "google play system updates")
            - within gms there are two complexities ...
            - 2) the APls in GMS presume a certain security model, which doesn't
              exist on any of our short terms solutions (is orthogonal to hyperv vs
              haxm). basics like not storing PII on device.
            - we need to do a full security audit of all APls w.r.t the short term
              security model and see how we could either modify (and accept risk)
              or disable apis
            - and implications of that on app catalog
            - 3) there is a massive amount of logistical work to ensure all teams who
              are building are qualifying their work on/ considering the platform
            - the long term solution with microsoft simplfiies this for us because we
              can provide much stronger security guarantees
            - did that make sense?
            - so to answer your q ... it's not really a win10/win11 thing. its a "battlestar-
              esque security model" vs our nested virt security model
            - nested virt requires msft to rehost windows on top of hyper-v
              (effectively depriviliging it)




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            -    so it's a shitload of work for them
            -    (or equivalent other solutions)
            -    they are aligned that it's the right long term direction, but obv is a
                 massive amount of work and is not feasible for their fall timeline




        ---- CLOVER HC -
        T       L , Yesterday 2:33 PM
        re:hc and doing 8* and clover ... .i think we need to more clearly articulate, in
        the b* case, how much more he needed, for how long, and why (TAM +
        tablet strategic value+ revenue)
        for clover, assuming we scrambled all the jets onto it, i'm unclear as to what
        the resourcing gaps are (sorry i don't have the latest decks if they're there),
        and for which teams (e.g. i'm pretty sure android is a big hole), and what the
        sequencing for MVP launch would look like
        *resource sequencing for MVP launch


        A         M        , Yesterday 2:35 PM
        What's the right forum to get signal on clover funding even without the
        backwards compatibility piece?


        T       L , Yesterday 2:35 PM
        j        is going to raise the issue w s       tmw morning


        A         M        , Yesterday 2:35 PM
        Sorry lag.
        Ok sounds good


        T       L , Yesterday 2:35 PM
        but not sure he knows what the number is, or where the holes are (play vs
        android)




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        A       M       , Yesterday 2:35 PM
        For what needs funding on clover. We have imprecise ballparks
        Would be helpful to get an envelope where we can apply heads and hold
        some reserve to cover holes as we see them. I think our original estimates
        are ballpark accurate

        T    L , Yesterday 2:37 PM
        (can you point me at those ballparks, i assume it was in last deck to h
        somehwere, but i don't have that handy)

        A       M        , Yesterday 2:39 PM
        It was ballpark 50 play+ gms, 50 android os
        The 100 is about right in total but the balance may shift

        T    L , Yesterday 2:40 PM
        sorry is that assuming we killed b* and abandoned win10?

        A      M        , Yesterday 2:40 PM
        (we had other asks for better together features, developer tools,
        asap/policy, etc)

        T   L , Yesterday 2:40 PM
        and what level of security model you think is implemented by october?

        A        M      , Yesterday 2:40 PM
        Yes.
        This assumes no back compat
        I think the backcompat thing in parallel would be 30 ballpark on top of that.
        The old estimates aren't probably accurate enough because they were high
        level
        Can put something together with more detail now that we've had convos
        with them




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        T   L , Yesterday 2:41 PM
        and you think 100 would make apps avail by october? (ie full android security
        model)

        A       M       , Yesterday 2:41 PM
        Mainly would need to know what level of detail you are looking for
        There is no path for us to have all apps available by October
        That requires joint work on both sides that neither can commit to

        T   L , Yesterday 2:42 PM
        what level of security model would we accomplish by oct?

        A       M        , Yesterday 2:43 PM
        We can have a beta by October on win 11 (hand picked apps     +   games), and
        scale up to the "long term" solution with microsoft
        It would functionally be Battlestar

        T     L , Yesterday 2:43 PM
        is the limiting factor the android security model, or gms compat?

        A         M       , Yesterday 2:43 PM
        In terms of security model it's roughly identical. The large Delta in scope is
        that we would need to figure out how to onboard Google Play services, take
        on deeper os integrations, and rearchitrct a bunch of stuff
        It's a combination. The Android security model is a completely made up
        dependency so we could just arbitrarily decide to ignore it
        The Google Play services one will be quite tough to get around. It's just a lot
        of work + risk
        (also is tied to the same mental hurdles we would have to cross to relax our
        security requirements)

        T    L , Yesterday 2:45 PM
        the gmscore stuff is orthogonal to win 10/ win 11 right?




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        i'm assuming that choosing to rest andorid on hyperv impacts android, but
        not gmscore .... pls correct if i'm misunderstanding

        A         M       , Yesterday 2:46 PM
        I can at least take a closer stab at scoping out the work if it helps, but given
        how much scope we've uncovered in our convos
        Sec getting to comp
        GMS is more about security model and deployment model
        1) there is an overhead of this new platform, with new unique constraints
        (e.g. adding production monitoring, alerting, custom rollouts) to account for
        the new platform. given how different it is, we need to do something here
        for that or suffer samsung S21-esque bugs
        (also similar for mainline/ "google play system updates")
        within gms there are two complexities ...
        2) the APls in GMS presume a certain security model, which doesn't exist on
        any of our short terms solutions (is orthogonal to hyperv vs haxm). basics
        like not storing Pl I on device.
        we need to do a full security audit of all APls w.r.t the short term security
        model and see how we could either modify (and accept risk) or disable apis
        and implications of that on app catalog
        3) there is a massive amount of logistical work to ensure all teams who are
        building are qualifying their work on/ considering the platform
        the long term solution with microsoft simplfiies this for us because we can
        provide much stronger security guarantees
        did that make sense?
        so to answer your q ... it's not really a win10/win11 thing. its a "battlestar-esque
        security model" vs our nested virt security model
        nested virt requires msft to rehost windows on top of hyper-v (effectively
        depriviliging it)
        so it's a shitload of work for them
        (or equivalent other solutions)
        they are aligned that it's the right long term direction, but obv is a massive
        amount of work and is not feasible for their fall timeline




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        T    L , Yesterday 2:53 PM
        for my education - the b* security model - did we actually disable gmscore
        apis or modify them specifically for b*?

        A        M       , Yesterday 2:53 PM
        another basic example that came up that shows why things balloon in scope
        we disabled them
        we audited all games
        looked at what apis they used
        and then disabled the rest
        (games notoriously have few gcore dependencies)
        the reason i am advocating for an envelope approach is that if we're serious
        about the project, we should make sure we have reserves to handle massive
        bogeys
        an example that came up yesterday --
        the memory management model for windows and android is dramatically
        different
        android is greedy
        so what happens in a case where say
        you're using signal or what's app on your device
        on your windows pc)
        you close it, and then a notification comes in
        either (without massive surgery) we have the VM running in the background
        causing large overhead on the windows device, despite you having close all
        android related stuff
        or we disable things (background services don't run)
        or we need to do some surgery
        things like that

        T    L , Yesterday 2:55 PM
        or you install the signal desktop app   □




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        A       M      , Yesterday 2:55 PM
        ha ha
        that example applies to all apps that use background services
        ~most apps in the catalog
        □
        just illustrating the point

        T   L , Yesterday 2:56 PM
        yeah just being snarky

        A       M      , Yesterday 2:57 PM
        i can enumerate a bunch of these if it helps bolster

        T     L , Yesterday 2:58 PM
        (trying to decide what it's worth to try to overload my brain on this)

        A       M        , Yesterday 2:59 PM
        lol

        T     L , Yesterday 2:59 PM
        (as i listen to rubidium mtg)

        A        M        , Yesterday 2:59 PM
        tldr, there are a bunch of examples like what i mentioned
        ha ha
        in general the thing i'm worried about is that we kind of need a blank check
        on this
        with some sense of what that upper bound is
        i'd advocate for an approach like t his
        we tell s        /h       this is ballpark what we need ceiling
        we can come to advocate for 50hc blocks to unlock
        or some such arrangement




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        T     L , Yesterday 3:00 PM
        i get it.. ..i dont think its realistic
        scope is a massive lever for october
        if all they care about is having tiktok, insta running by october as a beta, that
        releases a lot of pressure on trying to find perfect (or even good) solutions
        if you knew that for a fact, would/could you scale the ask down? (obvs i
        wouldn't start negotiations there)


        A       M           , Yesterday 3:07 PM
        (sec brb)


        A        M          , Yesterday 3:16 PM
        back
        that would be predicated on a few things
        1) we'd need the developer to be willing, and to want to sign up knowing the
        reduced security (would be a big deal for FB i assume -- especially allowing
         FB login)
        2) (also non-technical) we'd need to get the android security team on board
        with it, they've historically been more challenging
        3) a lot of the scope is coming from msft asking us to do integrations with
        their stuff. unclear if we could negotiate them down off of that
        (also relates to #4 which is a lot of the scope is around modifying system ui,
        and constructs like notifications etc in android to adapt to windows
        standards and feel native)
        the current october scoping was always trying to find a passable solution
        that is tailored to a set of partners we hand select
        we were planning on being even more conservative than what you
        mentioned ... by identifying a set of apps that don't use very many gmscore
        dependencies ... aren't security sensitive ... etc
        and starting from that angle rather anchoring to a list microsoft wants. they
        seemed OK with that approach but we haven't spoken in detail. also we
        didn't tip our hand that GMSCore is not supported in b* ... we couched the
        whole discussion around security and left it at that




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        G     H         Yesterday 5:32 PM
        my sense is we should probably write down a "what does both look like" and
        call out where there's efficiencies between B* (shared components) vs. the
        delta the Microsoft creates for Clover. then meet to discuss, recognizing
        that 50+ heads is unlikely to go anywhere, might be worth pushing on
        assumptions and see if the exercise yields somethingn aroudn 30-40 HC in
        2021. is that a good next step? other thoughts?
        (bottom line, I'm trying to avoid the Clover only deciision - I think it's crazy
        risky without a hedge)

        A        M      , Yesterday 5:42 PM
        I'm just confused what the plan in H       and s        's head is

        G      H    , Yesterday 5:42 PM
        moar product, less people!
        I'm kidding

        A      M        , Yesterday 5:43 PM
        H      wants to move forward - was he really thinking we could handle this
        from existing resourcing?
        (not expecting an answer just asking the obvious question I want his
        feedback on)



        XXX PWESTBRO is able to do a lot of the port...what changes ...why is android
        involved




        a




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        s    come across not respectful. rude, condescending.
        broader issue is blurriness, play/android remit boundary
           - ppl like d     (and folks close to her) can be selective how that overlap
             is managed/applied. will have an opinion to block, or say ifs not our
             thing and play will have to justify
           - blocking tactics
           - hard held positions on 'arguments around google not to be trusted'.
                 - hard to argue with
           - play dev - feel not so separate
                 - app bundles, integrity not just a play thing ... saying its a play thing
                    pisses them off
                 - j     /d
                 - appbundles, mandate signing model
                        - d      /d     uncomfortable w play signing everything
                        - frustrating for feedback to come late
                        - d : 'this is a play decision, how play wants to distribute'
                        - cutting off room for debate not viewed favorably
                 - have to assume they're always decision makers.
                        - slows things down




        abuse

        library - not TOO attractive & lucrative

        runway factors
           - distro fees
           - billing choice (or not)

        two reasons. first, some folks felt strongly that we should not have two store
        experiences, but rather address less desirable content through surfacability




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        second -- related -- H         did not even like the idea of a difference in
        surfacability -- he wanted a single bar
        I thought the bifurcated store idea was a good one, although I preferred the
        option we workshopped around limiting discovery (that is what I mean by
        surfacability -- I'm multitasking)



        just concerned with the pandora's box of developers seeing that they are in
        the affey and not in the nice part of town

        T   L , Yesterday 2:23 PM
        double click?

        A       R        , Yesterday 2:23 PM
        today, we don't tell Devs how discoverable their app is in the Store
        this will be very explicit
        bad press cycle pending
        for P2B this was a hot topic
        which is why we took the approach we did

        A      R       , 6:28 AM
        what I propose is that we first confirm whether we are a store or an index. I
        feel we walk a middle ground today.

        A      R         , 6:33 AM
        index means we can take more out of the web search pfaybook (e.g. safe
        search) but it also means we'd probably want to change-up how the Store is
        structured, (I'd have to think more on what that could mean)
        With a Store paradigm we take harder lines. Other Android 'stores' could
        pop-up to cater to niche areas that don't work with our policies




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        glance scaling outside of india, content, monet
        60c arpu/yr, 50% w oem
        liveops, deals,
        cant scale to work w devs
        ?admob




        what's not ok
          - malware
          - deceptive practices

        w
            - privacy
            - competition




        flipkart india tablet
        p       ?




        k   - focus on 2nd purchase.
        growth? strategy?
        where is this happening and why can't i see it?




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        s
        ar/fb
        amzn/fb watches
        geist
        dei hiring at leadership levels
               googlegeist
               overall ppt ratings up slightly

               D      L     , 4 min
               highlights: (1) biggest surprise on positive perf sentiment lift (despite
               everything) (2) feeling of connection/belonging up despite wfh, (3)
               well-being at an all-time low (but higher than the informal non-ggeist
               rating of this from back in April)

               D      L     , 1 min
               and finally, (4) way down on hierarchy/bureaucracy/getting things
               done (with notably v low scores by VPs/Dirs - perhaps being
               sandwiched and feeling it most profoundly; I can relate)
               re the new future or work questions .... for questions asking which location (home/office/no
               pref) was best for which activity/attribute, e.g., connecting, well-being, concentrating, etc.,
               mixed response across the 3 choices for many, indicating that this is a very
               personal/individually unique assessment, so Googlers expressing desire to have more say
               (and asking leadership for more trust) in ID'ing where/how they work best and achieve the
               most




        l
        d     / blizzard     Ig      c
        n       /opg




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         D
             - uber ti - r
             - s - too detailed




        world changing issue-> change course?

        pk: need to manage her team - what do they say if things are going to
        change?
        ss: changing themes w every dev he talks to
           - tencent: apple subsidizing w svcs

             1) get clarity, on larger strategy
             2) get certainty




        ngbf

        3Ps. doordash
        what backend integrations expected. order/terms consistency?
        subscriptions for 3Ps?
        analytics available




        h      feedback
        T   L , 8 min
        hey man, sorry for evening ping. low priority but lmk if you're there.




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        J    H        , 6 min
        what's up?

        T     L , 4 min
        (first off, sorry for diving right into rando work stuff, we should catch up
        normally sometime. with like alcohol. which i might start on right now given
        what a day i had). i know stuffs weird between play/youtube. but besides
        that, curious to know if you think p       f   is VP material from what you've
        seen.

        J      H       , 3 min
        no worries, and +1 to catching up over a drink.
        I can tell you my experience with P   has not been positive

        T     L , 3 min
        well, we're trying to get you to do stuff you absolutely dont want to do.

        J      H        , 3 min
        That's normal
        It's the "how"
        I haven't seen him trying to build bridges (and have the same criticism of E
        on my team)
        With P      it ends up feeling like he's trying to manipulate the situation
        In striking contrast to A        , who I see doing much more give and take

        T   L , 1 min
        yeah i know a        is trying a different take. what specifically felt
        manipulative to you, if you have an example?

        J     H      , 1 min
        Early on, what also seemed to happen was that the teams would talk and
        think they were on the same page about things; then P would present a




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        deck at an exec review (having not shared it with our team in advance) that
        said something else
        The general theme of surprising our team with a deck they hadn't seen (or
        giving them access hours before a review) happened a few times
        brb

        T     L , Now
        ok that's really valuable feedback. really appreciate it.
              H       , 17 min
        back
        So the end result is very little trust. Disagreement is fine and normal, but how
        it's handled is critical
        Especially for VPs
        As we're the ones expected to deal w/ these kinds of situations

        T   L , 15 min
        appreciate the feedback. not defending it, but it is a hairy situation, even our
        bosses have been kind of struggling.

        J      H      , 14 min
        Agreed
        But I just compare to the quality of discussions I have with you, M , and
        A
        And P is not in that league
        The way he comes across to our team is actively hurting the process, rather
        than helping

        T     L , 13 min
        lol to be fair we've been backseat driving and letting p    take the heat

        J     H       , 13 min
        Which might be a good strategy for you all   □
        But not doing him any favors




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        As a counterpoint, P        on my team has had lots of arguments w/ the
        Payments team
        But has built really strong relationships and trust to manage through those
        which has really benefitted both teams, and gotten us through some really
        ugly problems purely on relationship

        T     L , 12 min
        right. ironically, p  plays exactly the same role with payments for me with
        similar outcomes, last meeting with p        notwithstanding.
        i've put p    in charge of our relationship with v     /p
        anyways, not trying to defend, just build empathy.
        again your fb totally fair

        J      H        , 10 min
        I'm also being pretty blunt
        I get that it's a tough situation, but again, my expectation for a VP would be
        they'd get through it with more understanding and good relationship w/ the
        team vs. just plowing through
        For a 8/9: sure, take orders, march through, leave a mess but get it done
        As I said, I have the same criticism of E on my team: he'll get things done
        but not making friends along the way, which will hurt him in the long run

        J    H        , 2 min
        gotta run - family dinner, but can chat more tomorrrow

        T    L , 2 min
        sorry was af k for a sec
        go have a good dinner. lmk if you ever want to grab a drink!




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        j      p
        https://grow.googleplex.com/role-
        profile/detail/JSF PEOPLE%20PARTNERS,1456,1457




        3/2
        s

        march 4 google-wide townhall
        march 8 vps w 100%, autoshare

        s      io.
        focus on android ui change.
        privacy g-wide
           - concept of 'safe sensing'.

        march 12 - half day privacy summit
          - gapp - state of world, mktg shift narrative
          - s        /s     /d    /sf ....

        met w samsung. android share bad.
          - what is bigger more compelling consumer proposition .... service layer.
             free/heavily discounted subs only on android
          - spending to have carriers promote android
          - what are compelling bundles. bumble, fitbit,

        samsung fold. note fate.
          - switching factor

        behind on hiring

        msft. links.




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        S

        tablet
           - specific features to store ... will ppl disappear
           - merch, aquality, badging ... .
           - devconsole? just nice to have?

        dd    : raise round of funding? wheres the data? adding to team without
        knowing were on the right path
        supersize kids apps ? bd work?
        how big is it going to be? going to be downloadable. whos the vision, are all
        the pieces going to be there to pull together.

        long term plan for tablets.

        whos lead? instead of taking orders




        discord
           - why stagnate in games?
           - growth strat
           - our games strat




        GKS baseline 20k
        to2M

        family positioning of tablet changes adoption
        US: assistant device, lower




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        most new stuff is family oriented

        not good fro distance learning

        top 10: zoom   +   google meet




        s
         store/ deals
         update on s&d in store
        reviews, robinhood
        b*
        play's io story.
        playpass story?




        Deals:
        We have divided work into 5 work streams and have various owners driving
        each:
        1 : Deals Strategy (K      with help from d       (growth), j  (commerce),
        and c       (ads))
        2: Overall Deals Tab Experience (K       &e       (UXD) and b      (UXR))
        3: Developer & Partner Story (PDC-LON)
        4: Go-To-Market Strategy (Strat Ops - D       )
        5: Eng infra design (M ) The team is meeting for a design summit to bring
        them all together next Friday and is planning a PPS to update on progress by
        end of this month.




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        - a

            -   launching aug, dovetail, super confusing




        vp forum
           - play prominence
           - sustainable value creation
                - https://docs.google.com/document/d/1MwTOvjEtZ2Ls ZnS3Rh2
                   WxD6y5mUTY7ew3rX8cACW3E/edit?resourcekey=0-DVGG-
                   acV1 DlvMjhsGo0L4g#
                 - focus on free cash flow
           - central finance weigh across pa
                 - but opp cost different
           - managing he. exchange rates

        s        directs
        s      , moderation, 25th
           - alert to potential controversy
        gleads. sundance launch. ads not using 3p cookies
           - generally happy
           - some influencers not onboard
           - really complex ... ppl dont understand floe etc.
           - working on microsite
           - need to simplify explanations
        browser convos .... privacy as feature ....we try to make them built
        in/background, but we need to be more forward and make it clear how much
        we protect people
        mozilla shield aninmating when it does something for you
        need to take credit

        no april fools




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        royal - insider risk. 2020 - was acls. 2021     + =   movement of data and what we
        do with the data

        new obligations for 1P apps to be included in RSA, if preloaded, must have
        tablet version of app). and a wearable app. new resources to support. no
        clue where this would report

         DEi accountability



        S          /B*
            -   games as 12B
            -   mobile to desktop
            -   simplify story even further
            -   5review game theory
            -   give breathing room
            -   break the play/android linkage? maybe touch on chromeos ....we did
                chromeos .... thats how this started.

        m
            -   he
            - a          - amazing, really like working whim. can rely, super aligned.
                     -     he feels sidelined
                     -     k      needs scope
                     -     t     doing well. v hungry. needs to be patient. t /k
                           haggling over he
                     -     d     /s     top of stack.
                     -     y      strong
            - g           - fine
            - a             - less.
            -   m            - super close partnership
                     -    used to be so contentious, now super strong partnership




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            - d       - v positive so far. hands on. got access to dashboards,
              understand things end to end.
            - dysfunction on execution
                - teams w clear names, clear metrics to optimize for
                - a        stuff really messy.
                - org by surfaces, form factors
                - core platform (b         . phonesky platform (t     )
                - optimizing for money ads/iap in different orgs
                - optimizing for DAUs
                       - personalization, ranking, quality
                       - features - store, hype
                             - santoro, slack, etc.
                - store utility
                       - backup / restore
                       - onboarding flows
                       - my apps and games
                       - search

        mekka
          - m           : creating anti pm culture. calling 14 pms, with 'an issue with
            what you said'
          - y       .... rearrange entire pps deck night before
          - m       /h          relationship
          - 2nd hand all
          - b4 2 tis, wouldn't listen to pms. eng would have their own roadmap,
             separate from pm.
                - not partnership
          - pilot for iap top ups
                - j trying to work w p3 eng for pilot
                - pf: mekka reorging because j gave them work that they need
                   to support
                - p3 was excited to support pilot.
                - m          never came to m




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        calibration notes

        team    leadership
           -    double clicking into vision and spreading the gospel
           -    managed disbursement of he
           -    covered for mmh where i could , took on his directs for regular 1:1s and
                tried to coach as best i could
            -   learning a lot about attempting to get p     f     to VP, now also trying
                to help a       ,p     ,k    get set up for VP promo
            -   worked on d
                    - serious 'how' issues, many escalations within weeks of me taking
                       over. ran a small 360 to assess the situation and delivered
                       feedback. zero escalations since.
            -   promoted 2 new L8s
            -   moved PM to m
            -   onboarded L9 d

         DEi
            - personally drove hiring for 2 senior (L7, L9) URG talent
            - Product inclusion exec sponsor
            - GFS advisor for under represented founder startup
            - continuing to sponsor/mentor URGs on my team (ml            ,g        ,
              j   c     ,a n        ,m       b      ,j       k     )

        qb for
           - runway - managed a lot of the early work in backchannels to ensure
              teams were pursuing the right leads, communicating it correctly
              upwards. as we converged i sat back to let k     /pf handle
           - clover - similarly managed the product and technical conversations in
              back channel, but letting g  /a       shine here




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            - play-samsung - working with play team, android team and samsung to
              design an aligned play store plan, and staff it. the proposed plan is
              literally my product changes (to be finalized, of course)
            - play-payments - work closely with PF/AZ while mmh was out to (a) give
              them more visibility (b) stickhandle through some tricky conversations
              on buy flows, including with p       @
            - real money gambling - finally went live, though not perfect. somewhat
              policy-bottlenecked. assigning one of my PMs almost full time to it to
              keep this moving. p           and i personally engaging with RMG
              developer community to formulate next wave of policy.
            - blockchain investigation - with p         ran roundtables with
              blockchain luminaries/players such as d        t         founders of
              tron, etc. to understand the space. ultimately decided not to invest
              here.



        advisor to
          - android games/graphics. katie has really taken this over and g        is
             sufficiently ramped that i have stepped back
          - play/stadia conversations (both the conversations at end of 2020, and
             the new business model conversations in 2021)
          - yt/play rewards
                 - YT to migrate to play infra for lootdrops. allows us to for e.g.
                    quantify what happens to retention/engagement for viewers
                    who take lootdrops.




        gleads passdowns




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        3/16
        runway
        google economic impact
        return to office



        a       m
            -       pm projects-> more jr eng who wasn't free. could've been done but
                    was delayed 2 months
            -       assignments of eng
            -       5-6 promo layer
                       - high consciousness of eng having product insight/influencing
                          product direction
                       - manifests as just challenging PM in not completely rational ways
            -       play-android relationship
                       - always feels up to us to broker, no aircover from
                          a /t /s
            -       overtly political discourse that dominates google. more focus on
                    work, on less
            -       eggshells around the ux team. language is being policied



        mmh - m      working on reorg, asked a     to be quiet until they'd shared w
        VPs. m     hadn't told her team, but he exposed it to his reports, comms
        ended up going funkily to eng, and she had to backpedal.

            -       is a     partnering w d      ?




        c
            - subs platform
            - close to systems design, architecture




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              -   user facing




        g         rant

        I provided feedback to D                last time that I was pretty unhappy
         Ug
        Uh ...
        No one has asked me about his performance and I definitely would not be
        supportive of see based on my previous interactions
        So whatever they are justifying should not include me
        He just doesn't really operate like a director
        I mean if D      wants to support him that's fine I would just say cut my name out of the notes
        My overall feedback is that he theoretically is the privacy lead for gmscore
        I haven't really seen him at all and in the context of Apollo he kept trying to represent us externally
        without actually running things by GMS core product or eng
        So we kept getting surprised
        And we were a little lucky that he didn't paint us into a corner in the way that he publicly described
        how we did things
        So in that capacity he has basically not really been existent as a GMS core privacy person
        Which is why I would say just strike me from the feedback at this point
        just discovered that the delphi's work in gmscore only covers one of the network stack
        implementations
        so we have a massive blind spot there ... they didn't push on module teams to adopt that
        so we don't rea!!y understand our data usage
        also for iccid and in general over the last two revisions of the platform they kept making changes
        that were good for privacy, but without running to ground ecosystem impact

        T   L , Yesterday 7:36 PM
        woudl you say g   is a non-factor to gmscore?

        A        M        , Yesterday 7:36 PM
        (this was s      's pointing at me last time for feedback .. we cleaned up his shit a ton)
        yes.
        as the lead of gmscore i have seen him Otimes
        rather
        i, as the lead of gmscore, have seen him Otimes
        i can ask r     for feedback too but my understanding is that there really hasn't been any partnership




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        as another example, this whole dangerous permissions thing. s           is there. but g is not at all
        involved
        it's about PII usage and consents ..
        b       / r     / d       / s   have been running it
        my caveat is that i don't see his whole job. but for the part that he's supposed to be doing for me he's
        not there
        if i was going to flag in your shoes
        my q would be
        can we get direct feedback from the people he is supporting
        e.g. a
        for the core project he's doing (android) not the side project (en)

        T    L , Yesterday 7:40 PM
        yeah tell me what r   thinks before 10am tmw

        A          M     , Yesterday 7:40 PM
        will do.
        I also pingd a     for his take to at least give me a sense for if I'm off base

        T    L , Yesterday 7:42 PM
        hm. since i talked to you i think he got dropped to EE lol

        A          M     , Yesterday 7:50 PM




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        My gut was right
        Loi
        Per r
        "No feedback. He's been silent. About all I've seen him do wrt gmscore is hire two privacy engineers
        for our privacy team. He's been included in discussions that are peripheral - he's involved in Delphi,
        and in Rubidium, but neither are steering us. I tried getting him more involved in the permission
        policy that S basically wrote; but his level of involvement there was very low - if any."

        A        M      , Yesterday 8:01 PM
        Also: He has contributed to the policies around what OEMs can do with APKs on the device, and
        trying to make sure that his proposal doesn't contradict what gmscore does; but even there I don't
        know what his contribution is vs "is involved".

        A       M       , Yesterday 8:12 PM
        a      gut checked with bdc and he described him as a low 18 at best
        sounds like a fun calibration
        i miss the xfn calibration. i actually found it useful

        T     L , Yesterday 8:16 PM
        the ladder looks weird. you sure we aren't just biased to eng/pm ladders?

        A       M        , Yesterday 8:17 PM
        might be. i think the thing to flag is that he doesn't actually have feedback from people he's
        theoretically supporting or representing ...

        if he's claiming any credit for gmscore stuff, that seems weird since he's not involved at all with us




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        if he's claming credit for android stuff, feels weird that he'd get SEE without any feedback from the
        people who run android

        (at a minimum s       /a     who run the operating system)
        the box of 8 i am curious about is this one:




        delphi gap

        Per r
        "No feedback. He's been silent. About all I've seen him do wrt gmscore is hire two privacy engineers
        for our privacy team. He's been included in discussions that are peripheral - he's involved in Delphi,
        and in Rubidium, but neither are steering us. I tried getting him more involved in the permission
        policy that S basically wrote; but his level of involvement there was very low - if any."

        He has contributed to the policies around what OEMs can do with APKs on the device, and trying to
        make sure that his proposal doesn't contradict what gmscore does; but even there I don't know what
        his contribution is vs "is involved".



        ---- NATIVE
        10yrs entreprenreur

        1.5 yrs@ axon ..... public safety I body worn cams
        started company that pivoted to native
        strategic design
        cal desigh MBA

        l
        lib arts vermont
        #1 language learning school
        4 yrs of italian, economics
        no one speaks italian ....

        linguistic diverse team .....

        private equity ......

        travel around world.
        airbnb, netflix
        sales




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        met in 2013 in NY, roommate interview
        adventurers at heart

        lived in kr, middle east serve, germany, monolingual



        ??? google translate




        testing
                  6-8 months. ppl hacking language configs. to practice language they were trying to
                  learn/losing.
                  easy monet - practicing language while just chatting w practiced language
                  rather than keyboard paring
                           autodetect language on fly
                           translate across all recipient languages simultaneously
                           1Ok ppl.
                           analysis engine. 3 benchmarks -
                                            get to contextual translation. rather than purely mahematical
                                            approach ..... leveraging ML chips on new devices., how you codify
                                            speech ... vernacular .... translate intent & meaning across parties
                                    confidence score of lang autodetect
                                    quality score of translation
                                    sentiment score
                  pre-seed
                           nov 2019
                           private alphas/ betas, march2020-dec, public beta
                          just starting fundraising
                                    angels, maybe get a vc
                           GTM/customer base
                           small business innovation research program
                                    innovative startups-> agencies ... USAF ..... dont dilute.
                           need about $500k
                  built everything for 300k ..... bootstrapped.
                           brought in 135k
                           s      /salesforce .... bg in linguistics. helped connect to zendesk,
                           globalizaiton/localization.
                  applying to ycombinator
                  mixpanel for front end analytics
                  500 ppl in public beta
                           60/70 DAU, 4min engagement/day
                  interviewing: like the native experience, need media sharing ..... .




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                driving deeply w communities
                        direct to channel invite



        rmg
                easy thing for ios
                real user pain/ state ... have to clarify
                claws rigged?
                what is the next thing you are going to do?
                india - vouchers, sell in other apps
                does skillz need a license? does it have to be by geography?
                         not variable payout
                         fixed pay in
                how area they protecting users, e.g. when casinos stop when there are danger sign
                apple is arms length .... how does apple treat them?
                supercell
                         need a license ... how many are given?
                         ppl have to be motivated




        geist
        execution
                univision + meteors destroying the plans
                holding onto plans too much
                not enough funding for initiatives .... deep debt
                speed - ability to make quicker decisions

        NEED WORK TRACKING ON THE METEORS/SUSTAINED WORK
              p    : conviction on top priorities
              AM: siloed list of priorities s   /s /play




        s       passdowns
                gleads. wellbeing. geist fb. yt thinking of moving ot focus fridays.
                        cancel 'most' meetings
                        should figure out RTO before big recurring programs
                        should do one off things, but don't do anything that could calcify into a permanent
                        position
                ratings/ calibration
                        we have more EE+, dont use NI

                net importer of VPs




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        glance
                  ss
                          re-engagement
                          app install
                          economics?




        s
                  pf - 3:30 yelled
                  i'm extremely frustrated
                  not helpful
                  make me feel like i screwed up everything
                  in front of 5 other people
                  yelling at asian women
                  don't threaten the team when s    not there

        pf:
        p         asked question: proactive enforcmeent. tpm on pcoop
        s : dont expect it. not part of standard menu.
        20 minutes of lecture from shie
        makes it like pf fucked up, not getting staffing for it. your program, what would you like to do
        pf :pointed question "s    i just have to say, i don understand why this is always my fault, we're in thsi
        together right'?. feels constantly lectured. you didnt do this. you owe me headcount. pb/k          were
        able to get me he.



        s      : what do you expect me to do?

        s      : you didnt know policy was going to change

        tone issue
        is policy enforcement really pf s problem. same w streaming policy he ask.




        role




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                entertainment - v     - go build his own startup
                        700-800 ppl. pm eng ?ux
                        games, audio, sports, music
                        type of person: managed entertainment properties at scale. understand ent mkt.
                        entrepreneurial spirit....look for opportunities to do new novel things that only fb can
                        do
                mktplace - 10 yr vet went toceo/ancestry
                        run teams at scale
                        buy/sell platform
                        new strategy - shops. fb/msgr/ig .... show up everywhere. groups,
                        plug commerce into rest of app

        org
                connections - feed sharing
                communities - groups
                entertainment
                mktplc + commerce

        want ppl to run fb app in collaborative fashion

        what do you need this person to do
        composition - strong leaders but lost excitement about going deep into market to find edge.



        product objectives
        success/ metrics
               biz metrics
                       watch hrs
                        gaming - change strategy to do something unique
                                different metrics
                        big bets on audio - listening hrs, less interested in consumption, does it unlock new
                        kinds of behaviors/social audio listening
                       video - not accomplishing .... just passively consuming
                        social differentiator. vision
               incrementality to fb app
        misinformation
               whose responsibility

        culture
        what sort of person are you looking for, your best working relationships
                leader - adapt to what people need. spectrum of people. very different kinds of good
                working relationships
                         mission : see magic in ppl, shine a light on it
                common thing: relationship that is direct, transparent, mutual trust




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               coach
        what have you learned from the interviews thus far
               surprisingly hard to find strong vision/POV
               need inspiring leaders
               liked: ppl who tend to demonstrate hae an idea that was contrary to mkt / ceo was saying-
               conviction
               consistent execution excellence
               credibility

        what does the work look like
               what kind of work goes on in the silo, what are the dependencies to other parts of the
               company
               who's doing this work now?
               how much does m       zoom in here




        d
                strong opinion, not asking for feedback
                c         : indifference. wounds are deep.
                everyone backing off and work not getting done




        NATIVE
        - pitch competition, rice, h?
                 more chipping away
                 USAF, SBIR program
                 id use cases,
                 pentagon penfet... .. 8 wk accelerator for fundraising

                consumer facing app .... was driving hard there. API pilot programs
                usaf.... lD product mkt fit. doubling down on govt agencies .... id target customers
                willingness to pay
                monetization based on the hack of existing users
                           help them learn languages
                           landing page .... waitlist
                           USAF - ph 1. 350k contracts. 6 month time frame, get into the agencies, define
                           customer problems, how you would apply tech, propose MVP
                                   find specific commanders
                                   e.g. security detail, called ravens, secure aircraft on foreign airbases

                        ph 2. 1.5M sign addtl contract agencies




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        ? gcloud fedramp high

        talent
                devops
                nn, linguistic pros
                sttr - work w
        fundraising - 500k.




        pps summaries

        games -
        https://docs.google.com/presentation/d/1146ZmYkaaExTSV 9TM6tc9bjgRcq PCi7 41 mZG5zs88
        Y/edit#slide::::id.g9f039f7ee6 0 369
            - game dashboard progress, pretty awesome with one click youtube live streaming
                          and pixel 6 performance fixes
            - gamecore (android game development kit) update
                cool new concepts for takeovers on details pages for liveops & events

        play pass -
        https://docs.google.com/presentation/d/1 nfPL8paA Do5YNgX1 BipGSjqgFVZneVBIR7wUnSyp_$_
        k/edit#slide::::id.g728d6e36d4 3 267
                updates on global performance and product improvements
            - global launches have generally been in line with expectations in terms of free2paid
                conversion and retention
                next waves will focus on IN, JP, ID, KR, each of which have different market
                needs/dynamics
            - focus on IN, hope to launch in may

        dev console sdk program-
        https://docs.google.com/presentation/d/1 m-
        ZNM7M4x4gWY cEtoKDpydAeJOwWkfiA31W3ZpVySUg/edit#slide::::id.gbd2a 1c 7 c5f O 2
            - v1 launched in december 2020
                already have 24 SOK accounts opened, covering 68% of top ads sdks by installs
                       allows sdk owners to report versions as outdated, see metrics on install stats and
                       crash rates
                discussion on proposal for 'public index' of sdks (very early, lots of controversial points)

        lower priority for you




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        updating android/play data access policies for google 1P -
        https:// docs, goog le, com/presentation/ d/ 1oTi4ei31 nsXz2 eqwOLRokcT GavOOyWi nW pH br3rpZs
        /edit#slide=id.g64b27372bf 0 66
                 our principles seem to be good, some risks and tricky situations in process of being
                  managed (e.g. magiceye, one google dashboard)

        store personalization for games home-
        https://docs.qoogle.com/presentation/d/11VrnBBdOXh YqdxGlcDqlKY97nWAYe6dTKrz3y y5CFp
        c/edit#slide=id,p
                 covers smattering of topics, but most impactful is the new timespent 2.0 north star
                 metric, which is far more correlated with long term retention

        new store segmentation -
        https://docs,google.com/presentation/d/1wsK0kFM2WBLKwDPGVldnzB2 kcQMsl 1RygA 2ad3
        vzM/edit#slide=id,gb116af2712 1 323
            - WIP, early take on research we ran last year to try to hone in on new key markets (e.g.
                ID) with a bent towards trying to understand level of mobile literacy

        in-product user feedback -
        https://docs.qoogle.com/presentation/d/1clVWgpblr1fyU6kgp08MchtXFTs1ySYliPZ-
        3Dwhuc!/edit#slide=id,gbc95f539fe 1 22
            - we want to start running surveys in phonesky to get direct feedback on quality of
                experience




          Redacted - Privilege
          _ _ _ _ _ _J

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         Redacted - Privilege




        a     notes




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        dont understand goal
        too fast, hard to follow, too many pronouns
        VO too verbose. and i think the key points were buried there and not on slide




        j       j       feedback

        req
        build ecosystem
        build vision, pull teams together across surfaces. think big and drive us in that direction




        h

        I worked with J    awhile ago on a game streaming service for Xbox. Overall my impression was
        that he was good at project management, business, and strategic maneuvering. He was definitely
        ambitious and good at managing up. Not very connected on the technical side. Relying more on
        R T and myself to drive the development side of things. R worked quite closely with J       .
        R would have a good read on working with J      .

        b s
        Yes, I knew him a bit. While we were building XBONE he has the GPM for Cloud Gaming. He's
        smart and pretty technical, but really never had that much of a grasp for the business of
        cloud gaming or for game developer needs (drove B          nuts). Ultimately, he never made
        very much progress for cloud gaming at MSFT. H         was on that team and would have a
        better perspective on why they didn't make more progress.




        r   t
        Yes, I worked with Mr. J         . He was my GPM and I was dev manager on an early
        iteration on game streaming.

        Smart guy, creative thinker, broad knowledge, ambitious, generally easy to get along
        with.

        Ambitious.


        Main criticism has just been a few things haven't been successful. Stadia, the game
        streaming, etc.




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        Not sure why, either startup luck or something with him. I tend to suspect he just
        reaches for longshots.




        reality distortion field===> lack of judgment
        how issues with g       /devmktg

        hard to say it's a direct "how" - I think f2f he was always respectful to ppl. unfit was all indirect -
        channeled through their own Dev Marketing person, and maneuvering to position Stadia as the
        center of gaming vs. a Google for Gaming mindset. In a sense, it might be not having respect for the
        opportunity.

        G     H        , 19 min, Edited
        I personally felt like I should've bowed out after hearing they thought my title wasn't "big" enough to
        be part of the keynote
        (I heard all this, confidentially, through K    )




        j
        s         etc. black+ retention, rochester
        k   -> LA
        r    , boston




        [HEARING]
        _btlp$_;ff docs.qoogle .com/document/d/1 ou 1HOsAC1 okM MVPeLWkwXq8gN6rCH 1GgqK_i__6_i_nffy_Q_8J.e
        dit



        T   L , 33 min
        more seriously, so i can plan a little, how much of my cal do you expect to get detonated for prep?

        K        G        , 17 min
        My expectation is: a couple of hours this Friday, then 2 half days and one full day next week, then
        one full day on the Monday before your appearance.

        T    L , 16 min
        and lots of studying ?




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        K       G        , 16 min
        You're going to be well prepped and you're going to be fantastic, btw

        K        G        , 14 min
        Yes, there will be study as well. But I also see alot of this as your professional sweet spot. This is
        about digital content distribution at the end of the day, and you're the guy on these issues, with a
        career spanning so many of the major platforms.
        So we'll coach you but also want you to speak with the authority and humility of someone who
        knows this in and out already

        T   L , 12 min
        appreciate the votes of confidence. do we know who apple is sending?

        K        G       , 7 min
        Not yet
        They suggested a compliance executive /legal rep. Not sure if they'll stick with that. (It's a bad idea
        for them to go that route.)
        Btw, for that meeting tomorrow, it sounds like the RIT team wants to take your temp on some of the
        non-billing/product/business questions you might get asked, eg Parler.

        T    L , 5 min
        yeah i'II need to get re-read into all those escalations and the decision making/talking points

        K       G       , 5 min
        Exactly
        And for non Play/ Android, you will be able to deflect "Vt is not my area", etc

        T   L , 4 min
        who should my primary GAPP/legal POC be in general for this hearing?

        K        G        , 1 min
        For GAPP, it will be A B         and F           L    . R and I are supporting, but A and F
        are primary POCs. For Legal, it will be L    K       and K  S      .T       is supporting, similar to
        the role R and I are playing for GAPP.




        hearing questions
                how much can i use my opinion/experience. e.g. google's privacy focus



        get up to speed on io messages




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        what are we cutting from play + foldables
        what other options/ dial backs
        financial impact of play cuts




        a
        [geist]
                  core work team / xfn / eng / ux
                         impersonal due to covid
                         work not as fun as it used to be. more transactional
                                 inherent fun of building is sapped out of system
                                 some teams may depend on the eng mgr, if pm is new, team dynamics are
                                 off
                                          policy (ex-vlad, now l      )
                                                   culture is not good, eng lead is passive, super impersonal
                                 fun event things are not part of making the work fun
                                 1O person mtg, 3 ppl off mute interrupting each other, 7 others impossible to
                                 get involved
                                          k ,m          ,s     ,m      d
                                          not self aware enough to break out of spiral
                                 tooling. too many trixes
                         PA level
                                 pain working w android
                                          we generally feel less integrated w android, used to be invited to their
                                          all hands, was more inclusive, now we never hear anything from
                                          android, now only get my passdowns
                                          inclusiveness of android org of play is gone. very transactional
                                 guidance on when/how to use pps's
                                 too many top down xpa initiatives
                                          wear
                                          android big screen
                                          better together
                                          runway
                                 prioritization, eng promo ladders
                                 product vision - whats missing?
                                          tldr - we dont hear from s          anymore, not as relevant. similar for
                                          h
                                                   me/m       - structure and manner in which vision is conveyed,
                                                   lack of relevance to local teams work
                                                            vision may have to be more of a discussion/dialogue,
                                                            rather than a presentation
                                                   Al: quarterly




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             Redacted - Privilege




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            Redacted - Privilege


        l   convo

        T       L    , 11 :48 AM

        hey man, long time no talk ..... qq .... are CN app store fees still hitting the 50% mark? or has that
        dynamic changed?



        L   Z         , 1:05 PM

        Hi T , in general yes. There were cases where certain developers for certain titles) were able
        to negotiate it down to lower fee (~30%) but those were anomalies.



        T       L    , 1:13 PM

        you have a deck or doc detailing how/why prices escalated so much?



        L   Z         , 55 min

        Not exactly what you are asking for, but this might help. I did a brief summary of Huawei app
        store a while ago, mostly still valid:
        https://docs.google.com/presentation/d/1 J6GCpxF75N i4H MKO0E RK9ustATc-
        vv5J tmvl!irF w/edit#slide=id.p




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                                Huawei App Store
                                    Business Analysis




        Huawei App Store

        What really matters to Huawei store's business is slide 6, Market co-op model $±:ih &t.3i;

        And there is link to a Market Co-op Service Agreement, which has a table describing a rather
        complex revshare scheme

        https://developer. huaweLcorn/consurner/cn/doc/20204#h 1-161 '1915875593-2

        For different category of apps/games, Huawei offers different revshare (e.g. edu 20/80, paid
        30/70, outside of China 30/70 etc).

        But what really matters to their business - F2P games - it is 50:50.



        T       L    , 50 min

        thx and i'II study those .... but do we understand how/why stores were able to drive fees up that
        high?

        (context: i'rn preparing for senate testimony   .)



        L   Z         , 50 min

        Aha



        L   Z         , 40 min




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        Not sure this will help the preparation, but IMO it's simply they CAN, for several factors: 1) they
        (at least OEM stores) dominate distribution on their devices 2) lack of anti-competitive
        regulations in China (at least difficult to apply to app distribution given each OEM only owns x%
        of the market share) 3) complexity of market dynamics - app/game devs are also in dominating
        position in their respective domains (e.g. Tencent in gaming and social)

        The last one might be something helpful?



        T       L    , 38 min

        well i guess i'm trying to say ' hey if you open up app stores, you end up with china where the
        costs are 50%'

        but i wanted to see what the driving forces are, sounds like i can't really say it.



        L   Z         , 35 min

        Hmmm. I don't think there is a logic between open up app stores -> fee will jack up to 50%,
        because the primary driver is domination in their respective walled garden.

        Maybe on the flip side, we might be able to say, even in a high competitive app distribution
        environment as in China, fee is still as high as 50%?



        T       L    , 33 min

        yeah



        L   Z         , 33 min

        Therefore, at least more app store might not necessarily benefit devs in that regard.



        L   Z         , 31 min

        But if the hearing committee dive deeper, it's difficult to argue that there is a lot of friction in
        China, therefore not necessarily a free market



        L   Z         , 28 min

        Well, maybe there is something there




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        Can we say the existence of Play prevents Android OEM forming app distribution domination in
        walled garden based on their devices.

        We've seen in China, when such domination exists, app distribution fee can jack up to as high
        as 50%, because Android OEMs want to use this business model to compensate the thin
        margin of their hardware business (which actually is the root cause to answer your question).

        Supporting that argument, most of the top Android OEMs are from China, where they already
        demonstrated this practice.

        And we can check Samsung app store's terms in China too.



        T       L    , 24 min

        remind me - are there any non-oem app stores that are 'thriving'? and how much do they charge
        now?



        L   Z         , 23 min

        They are all barely surviving, with the exception of Tencent and Taptap.

        Taptap is an interesting one, they charge 0% from dev and adopted a purely ad based model.



        T       L    , 22 min

        that's crazy. what does tencent charge?

        and how do those 2 appstores get distribution?



        L   Z         , 21 min

        sideloaded

        I need to check Tencent app store's terms.

        Tencent app store (myapp) had a long history, technically it needs to be sideloaded, but that's
        technical terms, not user acquisition strategy.



        L   Z         , 13 min




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        Tencent app store's rev share is a bit more complicated, given they are also a publisher (with
        50% of the total CN market share by revenue).

        On paper, for the most lucrative sector (F2P online games), it says 60:40.

        https://wiki.open.qq.com/wiki/%E50/i.:i90%88%E4%BD°li.:i9C%E6%96°k89%E5%BC%8F

        But there is also a footnote says, there is a fixed 25% Android distribution cost, rev share is after
        that (i.e. on 75% of total spend).

        In short, Tencent is robbing developers, as summarized in this article.   □


        https://xueqiu.com/2919738071/116034659




        xuegiu,com



        T       L    , 9 min

        so funny. NO default distribution AND they charge more /facepalm



        L   Z         , 9 min

        Yep, true capitalism.

        I feel the angle of Play preventing OEM store dominating app distribution and jacking up fee as
        in China makes sense.



        T       L    , 7 min

        probably too subtle for committee tho

        but i'II note it and see if the hill team wants to use it




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        L   Z         , 6 min

        Ok. Btw, the reason why Apple can maintain at 30% is that their hardware margin is much
        higher than Android OEMs.

        Maybe we can also find Xiaomi's ipo prospectus, to see if they state services (primarily store) as
        a key business model.



        T       L    , 5 min

        does xiaomi's store show up in US?



        L   Z         , 4 min

        It should, if we have a Xiaomi overseas device.



        T       L    , 3 min

        i mean if i buy xiaomi off amazon, will it have their store?



        L   Z         , 2 min

        I believe it should, but can't guarantee.

        https://moma,corp,google,com/person/p           p

        P           manages Xiaomi and should know this better

        Btw, he was from Xiaomi

        Hope this helps a bit. Good luck with the prep and happy to contribute more.



        T       L    , Now

        thx for all the perspective!



        L   Z         , Now

        For sure




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        io
        inside android/mobile. privacy/security. wear. samsung/wear
        s        4 priorities
                landing io. incl rubidium
                pixel 2021
                wear/r
                play business model changes/t     testimony

        p
                foldables/tablets. starting a weekly pipeline review for app dev efforts
                weekly update on this

        running teams - try to have loosely typed set of time dedictead to reviews with teams. can be
        decision/guidance/whatever. good notes, good decision log, clear decision makers,




             1. priroiritze DAU
             2. addtl HC, articulate benefit
             3. follow up on b*




        ss



        he ask,
        [Al]sit w s    f    , one company decision here. dont want them to think we defaulted, would've
        liked other teams to act this way, less transactional

        b* bits to eap, h       update 4/15
        -s        - next couple weeks. given what we're up against whim.
        deals vs b*
        #1 goal : daily destination - highest beta, lots of ideas, unclear plan
        b* defense - msft, onestore

        wfh situation
                pops? P&E wide ...
                what will happen to culture if no office?
                google defined by smart ppl, innovation, not the products (diverse hits), mostly deep cs stuff.
                how much of that are you messing w w wfh
                dont know what you ruin




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                world has changed, not founder, wheres signal on where culture will go



         YT 'or else' (have to hit 95%, slow analysis, no regression, e   issues, not steering/leading, feels like
        only putting ~8 eng);
                [Al ACCELERATE] easier to react to proposal, or progress/lack of progress

        b   ready;
                [Al] t  to try
                assistant org needs retooling. infra, r&r,

        play pass india;

        m     devrel alignment




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